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AO      5B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                    V.                                (For Offenses Committed On or After November 1,1981)
                  CHRISTIAN CAZAREZ (] )
                                                                         Case Number:         13CR3571-DMS
                                                                                                                      1f(
                                                                      Todd J Hilts
                                                                      Defendant's Attorney
REGISTRATION NO.                    47811298

THE DEFENDANT:
IZI    pleaded guilty to count(s)          1 of the Indictment
                                          -------------------------------------------------------------
       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                      Nature of Offense                                                                  Number(s)
21 USC 846, 841(a)(l)                CONSPIRACY TO DISTRIBUTE COCAINE                                                         1




     The defendant is sentenced as provided in pages 2 through                   4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1'984.

       The defendant has been found not guilty on count(s)

       Count(s)                                                  is           dismissed on the motion of the United States.

I;gj   Assessment : $1 00.00.




I;gj   No fine                           Forfeiture pursuant to order filed                                       ,included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      March 18.2015
                                                                      Date of Impo,;';on ofSenteA



                                                                      HON. DAN   c~t'lh~     . ABRA W
                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                      13CR3571-DMS
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DEFENDANT:               CHRISTIAN CAZAREZ (1)                                        I          Judgment - Page 2 of 4
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                                                IMPRISONMENT                          \
The defendant is hereby committed to the custody of the United States Bureau ofPrison~ to be imprisoned for a term of:
TWENTY-FOUR (24) MONTHS.                                                              I
                                                                                          I



                                                                                          \
                                                                                          I



                                                                                          I
                                                                                          I



o     Sentence imposed pursuant to Title 8 USC Section 1326(b).                 I
IZJ   The court makes the following recommendations to the Bureau of Prisons: .\'
      Defendant participate in the RDAP program.                                •
      Defendant be designated to a facility in the Southwest Region of the U.S. I




o     The defendant is remanded to the custody of the United States MarshaL

o     The defendant shall surrender to the United States Marshal for this district: \
      o     ~                              AM.               00

      o     as notified by the United States Marshal.
                                                                  --------------+---------------------1
      The defendant shall surrender for service of sentence at the institution desilWated by the Bureau of
      Prisons:                                                                       I
      IZJ   on or before NOON on MAY 1, 2015
      o     as notified by the United States MarshaL
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on   __________________________ to ________~--------------------

at ________________ , with a certified copy of this judgment.


                                         --------------..~----_--_---+I_ _- - _ - - _ - - - - ­
                                                       UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATE$ MARSHAL



                                                                                                      13CR3571-DMS
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                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is release~ within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.                                  .
The defendant shall not commit another federal, state or local crime.
                                                                                                                      I
For offenses committed on or after September 13, J994:                                                                I
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ~d at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4: drug tests per month during the
term of supervision, unless otherwise ordered by court.                                                I
o           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
            substance abuse. (Check, if applicable.)                                                           I
IZI         The defendant shall not possess a firearm, ammunition, destructive device, or any other danger~us weapon.
IZI                                                                                                                   10
            The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant section 3 of the DNA Analysis
            Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).                            i


            The defendant shall comply with the requirements of the Sex Offender Registration and Notific~tion Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender regist/-ation agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)      ~
o           The defendant shall participate in an approved program for domestic violence. (Check if applicJble.) ,



            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervisdd release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised rele,·se in accordance with the Schedule
       of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this cou\t. The defendant shall also comply
       with any special conditions imposed.                                                          I
                                             STANDARD CONDITIONS OF SUPERVISIOr
       1)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;~
       2)     the defendant shall rcport to the probation officer in a manner and frequency directed by the court or probation officer;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;                       I
       5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
              ~~                                                                                                              I
       6)  the defendant shall notiiY the probation officer at least ten days prior to any change in residence or empl\!lyment;
       7)  the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, pr administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;                .
                                                                                                                          or
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted pennission to do so by the probation officer;                                                 I
       10) thc defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and sh~ll pennit confiscation of any contraband
           observed in plain view of the probation officer;                                                                   I
       II) the defendant shall notiiY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforce~ent agency without the pennission of
           the court; and                                                                                               I
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasione~ by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and tol confinn the defendant'S compliance
           with such notification requirement.                                                                           I




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                               SPECIAL CONDITIONS OF SUPERVISION
                                                                                 1

1.     Report vehicles owned or operated, or in which you have an interest, to t1e probation officer.

2.     Submit person, property, residence, office or vehicle to a search, conduct~d by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasbnable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit t<]> a search may be grounds for
       revocation; the defendant shall warn any other residents that the premi~es may be subject to searches
       pursuant to this condition.                                                I
3.     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information
       between the probation officer and the treatment provider. May be requirFd to contribute to the costs of
       services rendered in an amount to be determined by the probation officer, based on ability to pay.
                                                                                     \
4.     Seek and maintain full time employment.

5.     Not enter or reside in the Republic of Mexico without permission of the   clurt or probation officer.
                                                                                     I




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